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                                JUNEAU DAVID
                                    P.o. Drawer 51268
                                Lafayette, LA 70505-1268
                                   Tax ID XX-XXXXXXX



                                    February 5, 2016


                                                            Invoice #:        28086
                                                            Billed Through:   January 31,2016
                                                            Account#:         001300 01580


RE:   HESIITRANSOCEAN PUNITIVE DAMAGES SETTLEMENTS
      OUR FILE: 1300-1580

      CURRENT FEES THROUGH:     January 31,2016                               $51,961.50

      CURRENT EXPENSES THROUGH:          January 31, 2016                        $54.90

      TOTAL CHARGES FOR THIS BILL                                             $52,016.40

      TOTAL NOW DUE                                                           $52,016.40

                  PLEASE INCLUDE INVOICE NO. ON YOUR CHECK.
                          * * PAYABLE UPON RECEIPT* *
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                                    JUNEAU DAVID
                                        P.o. Drawer 51268
                                     Lafayette, LA 70505-1268
                                        Tax ID XX-XXXXXXX


                                         February 5, 2016

                                                            Invoice #:        28086
                                                            Billed through:   January 31, 2016
                                                            Account #:        001300   01580


  RE:      HESI/TRANSOCEAN PUNITIVE DAMAGES SETTLEMENTS
           OUR FILE: 1300-1580
PROFESSIONAL SERVICES                                                                            Hours

10/23115      MJJ   REVIEW APPOINTMENT ORDER; CORRESPONDENCE WITH PARTIES;                         5.50
                    REVIEW OF TERMS OF TRANSOCEAN SETTLEMENT; INITIAL
                    ANALYSIS OF ISSUES TO BE ADDRESSED IN ALLOCATION MODEL
10/24115      MJJ   REVIEW OF RESI ORIGINAL AND AMENDED SETTLEMENT                                 6.50
                    AGREEMENTS; COMPARISON TO PROVISIONS RE: TRANSOCEAN
                    SETTLEMENT; ASSESSMENT OF DUTIES/OBLIGATIONS OF CLAIMS
                    ADMINISTRATOR; REVIEW RELEVANT COURT DECISIONSIRULINGS
                    RE: BASIS FOR PUNITIVE DAMAGES CLAIMS, REQUIREMENTS FOR
                    STANDNG, ETC.
10/26/15      EDC   REVIEW OF LAW ON ROBINS DRY DOCK RULE AND EFFECT ON                            0.40
                    DAMAGES
10/26115      MJJ   ANALYSIS OF CLAIM TYPES, SCOPE OF NEW CLASS, BASIS FOR                         3.50
                    COMPENSATION UNDER LINE OF CASE LAW; REVIEW
                    STANDARDSIREQUIREMENTS/FACTORS FOR CLASS NOTICE AS
                    IMPACTING ROLEIDUTIES OF CLAIMS ADMINISTRATOR RE:
                    ALLOCATION MODEL
10/29115      MJJ   ANALYSIS OF POTENTIAL CLASSIFICATION/CATEGORIES OF ROBINS                      3.00
                    DRY DOCK CLAIMANTS, OPTIONS FOR ALLOCATION/DISTRIBUTION
                    MODELS, IDENTIFICATION OF POTENTIAL CONFLICTS WITH CLASS
                    DEFINITION, ETC; WORK ON POTENTIAL ALLOCATION
                    MODEL/LANGUAGE
10/29/15      MJJ   REVIEW DWH CLAIM TYPES/COORDINATION OF DWH AND HESI/TO                         3.80
                    SETTLEMENT TERMS; ANALYSIS OF COASTAL REAL PROPERTY AND
                    WETLANDS CLAIMS UNDER DWH VS. NEW CLASS DEFINITION
11102/15      MJJ   COMMUNICATIONS WITH RESPECTIVE PARTIES; PREPARATION FOR                        2.40
                    INITIAL MEETING WITH ALL COUNSEL
11103115      MJJ   WORK ON DISTRIBUTION MODEL; CONFERENCE WITH CLASS                              3.50
                    COUNSEL AND COUNSEL FOR TRANSOCEAN AND HESI IN NEW
                    ORLEANS, LA
11/06115      MJJ   COMMUNICATIONS WITH CO-LEAD CLASS COUNSEL AND POTENTIAL                        0.50
                    CLAIMS PROCESSING ADMINISTRATORS RE: PLANNING FOR CLAIMS
                    PROGRAM
11108115      MJJ   DEVELOPMENT OF DISTRIBUTION MODEL FACTORS; ISSUES TO BE                        2.00
                    ADDRESSED WITH CLAIM PROCESSING AND NOTICE VENDORS;
                    ANALYSIS OF PRE-PRELIMINARY APPROVAL ISSUES
11109115      MJJ   PHONE CONFERENCE WITH POTENTIAL CLAIMS PROCESSING                              3.60
                    VENDOR RE: PROGRAM STATUS AND REQUIREMENTS; CONFERENCES
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                   WITH COURT RE: MISCELLANEOUS ISSUES; CORRESPONDENCE WITH
                   NOTICE CONSULTANT; CORRESPONDENCE WITH PARTIES RE: ROBINS
                   DRY DOCK CRITERIA
11/11115    MJJ    REVIEW OF PROPOSED CLAIMS PROCESSING COMPANY RATES;                  0.80
                   COMPARISON TO MARKET RATES/OTHER PROGRAMS;
                   COMMUNICATIONS WITH NOTICE EXPERT AND CLAIMS VENDOR RE:
                   PRELIMINARY WORK/CONFERENCE
11113/15    MJJ    REVIEW CLASS COUNSEL AND HALLIBURTON SUBMISSIONS TO                  2.60
                   ALLOCATION NEUTRAL; EVALUATION/ANALYSIS OF PROPOSED
                   COSTS/RATES FOR CLAIMS PROCESSING; COMMUNICATIONS WITH
                   POTENTIAL CLAIMS VENDOR
11113/15    MJJ    REVIEW/ANALYSIS OF ADDITIONAL SUBMISSIONS TO MAGISTRATE              0.80
                   JUDGE RE: PUNITIVE DAMAGE CLASS, LEGAL STANDARDS, ETC.
11116/15    MJJ    CONFERENCE WITH ALLOCATION NEUTRAL; COMMUNICATIONS                   1.90
                   WITH NOTICE CONSULTANT AND CLAIMS VENDOR RE: COMPARISON
                   BETWEEN CLASSES; CONSIDERATION OF INITIAL MATTERS TO BE
                   ADDRESSED BY CLAIMS PROCESSING COMPANY
11116115    MJJ    REVIEW OF WRITTEN SUBMISSIONS OF "OLD CLASS" INTERESTS AND           0.80
                   OF PLAQUEMINES PARISH, ET AL RE: RIGHTS AND BASES OF
                   RECOVERY FOR RESPECTIVE CLASSES UNDER HESI AND
                   TRANSOCEAN SETTLEMENTS
11/17/15    MJJ    WORK ON DISTRIBUTION MODEL; CONFERENCE WITH GARDEN CITY              3.20
                   REPRESENTATIVES RE: DEVELOPMENT OF CLAIMS PROGRAM;
                   COMMUNICATIONS WITH PARTIES RE: PROJECTED TIME LINES
11118/15    MJJ    REVIEW CASE LAW AND LAW REVIEW ARTICLES RE: ROBINS DRY               3.10
                   DOCK ISSUES; ANALYSIS OF DWH WETLANDS AND COASTAL REAL
                   PROPERTY CRITERIA AND MAPS; CORRESPONDENCE WITH JENNIFER
                   KEOUGH RE: MISC. ISSUES TO BE ADDRESSED IN DESIGNING
                   DISTRIBUTION MODEL
11119/15    MJJ    ANALYSIS OF GCG CHART OF POTENTIAL CLAIMANTS UNDER DWH               1.10
                   VS. HESI 1 REVISIONS TO SAME; CORRESPONDENCE WITH CLAIMS
                   VENDOR RE: ISSUES IMPACTING SCOPE OF NOTICE PROGRAM
11120/15    MJJ    WORK ON DISTRIBUTION MODEL; DEVELOPMENT OF GOVERNING                 2.80
                   PRINCIPLES; COORDINATION WITH EXISTING CASE LAW;
                   COMMUNICATIONS WITH GARDEN CITY RE: ONGOING EFFORT TO
                   DEVELOP NOTICE AND DISTRIBUTION PLAN
11123115    MJJ    ASSESSMENT OF LAND OWNERSIDP ISSUES AS THEY IMPACT                   0.80
                   AVAILABILITY OF ROBINS DRY DOCK RECOVERY 1 COORDINATION
                   WITH DWH CLAIM TYPES; CORRESPONDENCE TO PARTIES RE:
                   OUTLINE OF PROPERTY OWNERSHIP ISSUE TO BE ADDRESSED
11125115    MJJ    CORRESPONDENCE FROM CLAIMS SERVICE RE: NOTICES FROM                  0.70
                   CLAIMANT COUNSEL; ANALYSIS OF POTENTIAL TIME LINES RE:
                   ALLOCATION, APPROVAL, NOTICE, SUBMISSION OF CLAIMS, FINAL
                   APPROVAL, ETC.
11130/15    MJJ    TELEPHONE CONFERENCE WITH ALLOCATION NEUTRAL RE: CLAIM               0.70
                   CATEGORIES; COMMUNICATION WITH GCG REPRESENTATIVE RE:
                   ONGOING NOTICE ISSUES; REVIEWIANALYSIS OF AWARDS AND
                   AWARD CATEGORIES
12/02/15    MJJ    COMMUNICATIONS WITH GARDEN CITY REPRESENTATIVES RE:                  1.10
                   NOTICE DATA REQUESTS, DATA IN PREPARATION FOR DISTRIBUTION
                   MODEL, ETC; REVIEW/CONSIDERATION OF PROOF REQUIREMENTS AS
                   IMPACTING NEW CLASS ELIGIBILITY
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12/03/15     MJJ    CORRESPONDENCE WITH ALABAMA COUNSEL RE: ALLOCATION VS                1.30
                    DISTRIBUTION ISSUES; REVIEW OF DWH CLAIMS CENTER STATISTICS
                    RE: VARIOUS CLAIM TYPES; CORRESPONDENCE WITH JENNIFER
                    KEOUGH RE: ANALYSIS OF CLAIM TYPES AND VALUES; WORK ON
                    DISTRIBUTION MODEL CONSIDERATIONS
12/04115     MJJ    REVIEW 1 ANALYSIS OF DWH CLAIM DATA BY ZIP CODE AND CLAIM            1.10
                    TYPE; CONSIDERATION OF INITIAL GCG ANALYSIS OF CLASS
                    GROUPINGS, UNDERLYING DATA RE: POTENTIAL NEW CLASS
                    PARAMETERS, ETC.; REVIEW UPDATED FIGURES FROM MONTHLY
                    DWH REPORT; COMMUNICATIONS WITH MISCELLANEOUS PARTIES
                    RE: SUBMISSIONS TO BE MADE TO THE COURT
12/07/15     MJJ    CONFERENCE CALL WITH GARDEN CITY RE: DEVELOPMENT OF                  2.20
                    DISTRIBUTION MODEL; EMAILS WITH CLASS COUNSEL RE: NOTICE
                    ISSUES; WORK ON LANGUAGEIPROPOSED DISTRIBUTION MODEL
12/08115     MJJ    REVIEW CHANGE IN EXECUTIVE STAFF RE: GARDEN CITY;                    1.00
                    ASSESSMENT OF IMPACT ON CLAIMS PROGRAM; FURTHER ANAYLSIS
                    OF SELECRT CLAIM TYPES AND ELIGIBILTY REQUIREMENTS
12/0811 5    EDC    RESEARCH ISSUES OF ROBINS DRY DOCK EFFECT ON SUBSISTENCE             3.10
                    FISHING AND CHARTER BOAT CLAIMS, AS WELL AS OWNERSHIP OF
                    BEACHFRONT PROPERTY BY CONDO OWNERS IN FLORIDA AND
                    ALABAMA
12/09/15     MJJ    WORK ON PROPOSED DISTRIBUTION MODEL; DEVELOPMENT OF                  3.30
                    UNDERLYING PRINCIPLES AND LANGUAGE RE: SAME;
                    COMMUNICATIONS WITH CLAIMS VENDOR' EMAILS WITH PARTIES
                    RE: RECENT DEVELOPMENTS RE: GARDEN CITY GROUP
12110115     MJJ    EMAILS AND PHONE CONFERENCE WITH GARDEN CITY                         0.60
                    REPRESENTA TIVES RE: PERSONNEL CHANGES AND IMP ACT ON
                    PROGRAM GOING FORWARD
12/11115     MJJ    REVIEWIANALYSIS OF RECOMMENDATIONS 1 FINDINGS OF                     2.30
                    ALLOCATION NEUTRAL; REVIEW CORRECTED ORDER AND REASONS;
                    REVIEW CITED CASE LAW; ANALYSIS OF IMPLICATIONS FOR ISSUES
                    TO BE ADDRESSED IN DISTRIBUTION MODEL; COMMUNICATIONS
                    WITH MAPPING EXPERT
12114115     MJJ    ANALYSIS OF ISSUES TO BE ADDRESSED BY MAPPING EXPERTS, ETC;          4.20
                    REVIEW OF DWH SCAT AND OILING DATA; PREPARATION OF NOTICE
                    OF SUBMISSION DEADLINE 1 LEGAL ISSUES TO BE ADDRESSED;
                    CONFERENCE WITH ROBERT EDGECOMBE RE: MAPPING ISSUES;
                    REVIEW RELATED DOCKETS FROM EASTERN DISTRICT;
                    CORRESPONDENCE WITH ATTORNEYS RE: DISTRIBUTION MODEL
                    SUBMISSIONS
12115115     MJJ    CONFERENCE WITH STEPHEN CIRAMI RE: DEVELOPMENT OF                    1.80
                    DISTRIBUTION MODEL; FILING OF SUBMISSION DEADLINE NOTICE;
                    COMMUNICATIONS WITH PARTIES AND GCG RE: PLAN SUBMISSIONS
12116/15     MJJ    REVIEW RELEVANT EXXON VALDEZ LAW RE: CLAIMS OF                       1.70
                    SUBSISTENCE FISHERMEN; EVALUATION OF ROBINS DRY DOCK
                    STANDING ISSUES FOR VARIOUS CATEGORIES OF CLAIMANTS;
                    CORRESPONDENCE WITH GARDEN CITY GROUP
12/17/15     MJJ    PHONE CONFERENCE WITH LEAD CLASS COUNSEL;                            0.80
                    COMMUNICATIONS WITH PARTIES RE: EXXON VALDEZ CASE LAW
                    ANALYSIS OF FACTORS IMPACTING SUBSISTENCE CLAIMS
12118115     MJJ    REVIEWIANALYSIS OF DATA PROVIDED BY MAPPING CONSULTANT;              1.50
                    COMMUNICATIONS WITH GARDEN CITY GROUP; WORK ON
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                    DISTRIBUTION MODEL ALTERNATIVES
12/21115    MJJ     WORK ON DISTRUBTION MODEL; CONFERENCE WITH PARTIES IN               3.40
                    LAFAYETTE, LA, AND BY PHONE
12/22115    MJJ     PHONE CONFERENCE WITH STEVE CIRAMI RE: CONSIDERATIONS FOR           1.10
                    DISTRIBUTION MODEL AND TIME FRAME FOR PRODUCING FORMULA,
                    NOTICE, ETC.; REVIEW MISC. CASE LAW RE: ROBINS DRY DOCK 1
                    ANALYSIS OF POTENTIAL ALTERNATIVES FOR DISTRIBUTION
                    MATRIX
12/28/15    MJJ     COMMUNICATIONS WITH GARDEN CITY AND KINSELLA                        1.70
                    REPRESENTATIVES; PHONE CONFERENCE WITH KINSELLA
                    REPRESENTATIVE RE: MEDIA AND RELATED NOTICE ISSUES TO BE
                    ADDRESSED, RULING OF ALLOCATION NEUTRAL, ETC; WORK ON
                    OPTIONS FOR NEW CLASS DISTRIBUTION MODEL
12/29/15    MJJ     EMAILS WITH PSC ATTORNEYS AND KINSELLA MEDIA PRINCIPAL RE:          0.50
                    PLAN FOR REVIEW OF NOTICE AND COST ISSUES
12/31115    MJJ     CONFERENCE CALL WITH PSC AND KINSELLA REPRESENTATIVES RE:           1.40
                    NOTICE ISSUES, ETC.
01105/16    MJJ     PREPARATION OF CORRESPONDENCE TO GARDEN CITY GROUP                  0.40
                    REPRESENTATIVES RE: STRUCTURE OF DISTRIBUTION PROCESS,
                    REPORTING ISSUES AND PLAN GOING FORWARD
01/07116    MJJ     REVIEW EMAIL FROM ATTORNEY FOR CONDOMINIUM OWNERS RE:               0.10
                    DISTRIBUTION MODEL PROCESS BRIEFING ISSUES AND COURT
                    APPOINTMENT OF COUNSEL FOR NEW CLASS
01118116    PAR     EXCHANGE OF EMAIL COMMUNICATIONS WITH STEPHEN CIRAMI RE:            0.80
                    SUBMISSIONS OF CLAIMANTS, DOCUMENTATION SUBMITTED TO
                    CLAIMS ADMINISTRATOR, ETC.
01120116    PAR     PREPARE CORRESPONDENCE TO GARDEN CITY REPRESENTA TIVE RE:           0.30
                    SUBMISSIONS OF REEF FISH SHAREHOLDERS' ALLIANCE AND REVIEW
                    OF HARD COPIES RECEIVED FOR COMPARISON TO PRIOR EMAIL
                    SUBMISSION
01121116    MJJ     REVIEW LETTER FROM CYNDI M. RUSNAK RE: SUBMISSION ISSUES OF         0.10
                    GULF OF MEXICO REEF FISH SHAREHOLDERS' ALLIANCE
01121116    PAR     PREPARE CORRESPONDENCE TO STEPHEN CIRAMI RE: GULF OF                0.90
                    MEXICO REEF FISH SHAREHOLDERS' ALLIANCE SUBMISSION; REVIEW
                    OF HARD COPIES RECEIVED FOR COMPARISON TO PRIOR EMAIL
                    SUBMISSIONS; EXCHANGE OF EMAILS WITH MR. CIRAMI'S OFFICE RE:
                    COMPLETION OF SUBMISSIONS; BEGIN REVIEW ALL SUBMISSIONS
                    FOR COMPLETENESS OF SUBMISSIONS
01/22/16    MJJ     EXCHANGE OF CORRESPONDENCE WITH GARDEN CITY RE: WORK ON             0.50
                    LANGUAGEIPROPOSED DRAFT QUARTERLY REPORT BY THE CLAIMS
                    ADMINISTRA TOR OF THE HALLIBURTON AND TRANSOCEAN
                    SETTLEMENTS
01122116    PAR     CONTINUED REVIEW OF HARD COPIES RECEIVED FOR COMPARISON             0.60
                    TO PRIOR EMAIL SUBMISSIONS; PREPARE CORRESPONDENCE TO
                    MICHELLE LACOUNT RE: COMPLETION OF SUBMISSIONS
01124116    MJJ     REVIEW OF INITIAL DRAFT OF QUARTERLY REPORT BY THE CLAIMS           0.40
                    ADMINISTRATOR OF THE HALLIBURTON AND TRANSOCEAN
                    SETTLEMENTS
01125116    MJJ     CORRESPONDENCE WITH COUNSEL FOR CLAIMANTS RE:                       0.50
                    ADMINISTRATION PROCESS AND CLAIM SUBMISSION ISSUES;
                    REVIEW OF FIRST REVISED DRAFT OF REPORT BY THE CLAIMS
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                     ADMINISTRATOR OF THE HALLIBURTON AND TRANSOCEAN
                     SETTLEMENTS
01126/16    MJJ      PHONE CONFERENCE WITH COURT RE: DEVELOPMENTS 1 STATUS OF             0.80
                     NEW CLASS ISSUES; CONFERENCE WITH GCG REPRESENTATIVE RE:
                     DISTRIBUTION MODEL AND NOTICE ISSUES
01127116    PAR      PREPARE CORRESPONDENCE TO STEPHEN ClRAMI RE: REPLY TO                0.20
                     SUBMISSION OF GULF OF MEXICO REEF FISH SHAREHOLDERS'
                     ALLIANCE
01128116    MJJ      REVIEW AND ANALYSIS OF EXTENSIVE SUBMISSION ON BEHALF OF             1.80
                     MENHADEN FISHERMEN, INCLUDING EXHIBITS
01128/16    MJJ      PHONE CONFERENCE WITH JERALD BLOCK RE: CLAIM TYPES,                  0.40
                     STA TUS OF CLAIMS PROCESS AND DISTRIBUTION MODEL AND
                     ANTICIPATED PROCEDURES GOING FORWARD
01129116    MJJ      REVIEW AND ANALYSIS OF CORRESPONDENCE FROM KINSELLA                  2.50
                     MEDIA WITH DRAFT LONG 1 SHORT FORM NOTICES AND
                     MEMORANDUM FROM KINSELLA MEDIA RE: NOTICE PROGRAM
                     ISSUES; REVIEW OF FINAL DRAFT OF INITIAL REPORT BY THE CLAIMS
                     ADMINISTRATOR OF THE HALLIBURTON AND TRANSOCEAN
                     SETTLEMENT; REVIEW SUBMISSION OF CITY OF MOBILE, AL
01129116    PAR      COMMUNICATIONS WITH COURT RE: NOTICE ISSUES; REVIEW OF               0.80
                     PRETRIAL ORDER NO 12 RE: ELECTRONIC SERVICE; CONTACT WITH
                     LEXISINEXIS FILE & SERVE RE: ELECTRONIC NOTICE ISSUES, SIGNING
                     UP FOR NOTICE OF FILINGS, ETC.
01130116    MJJ      REVIEW AND ANALYSIS OF SUBMISSIONS ON BEHALF OF                      4.50
                     CHARTERBOAT OPERATORS; OYSTER BED CLAIMANTS; STATE OF
                     FLORIDA; AND SEAFOOD PROCESSORSIDOCKS
01131116    MJJ      REVIEW OF CORRESPONDENCE AND ANALYSIS OF SUBMISSIONS ON              5.20
                     BEHALF OF COASTAL REAL PROPERTY OWNERS; PLAQUEMINES
                     PARISH GOVERNMENT AND THE TOWN OF GRAND ISLE;
                     COMMERCIAL FISHERMAN; CO-LIAISON COUNSEL AND PROPOSED
                     CO-LEAD CLASS COUNSEL IN RESPONSE TO CLAIMS
                     ADMINISTRATOR'S NOTICE; BEACON EXPLORATION, LLC; RESPONSE
                     OF WALTZER WIYGUL & GARSIDE, LLC TO CLAIMS ADMINISTRATOR
                     MICHAEL JUNEAU'S QUESTIONS OF DECEMBER 15, 2015; AND, LAKE
                     EUGENIE LAND & DEVELOPMENT, INC.
                                                                 108.90             $51,961.50

MJJ        JUNEAU, MICHAEL J.                    101.80 hrs @    $500.00 Ihr      $50,900.00
EDC        CONNER, EVA D                           3.50 hrs @    $185.00 Ihr         $647.50
PAR        PARALEGAL                               3.60 hrs@     $115.00 Ihr        $414.00

        Fee Recap Totals                          108.90                          $51,961.50
EXPENSES                                                                                       Amount

01131116   COPYING                                                                               54.90
                                                                                                $54.90


BILLING SUMMARY:

           TOTAL FEES                                           $51,961.50
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         TOTAL EXPENSES                                   $54.90

         TOTAL FEES & EXPENSES                         $52,016.40

         TOTAL NOW DUE                                 $52,016.40
